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                          UNITED STATES DISTRICT COURT

                        NORTHERN DISTRICT OF CALIFORNIA

                                 CRIMINAL MINUTES

Date: April 28, 2020           Time: 25 minutes                Judge: RICHARD SEEBORG
Case No.: 19-cr-00305-RS-2     Case Name: USA v. Seth Carus
Attorney for Government: Ryan Rezaei
Attorney for Defendant: Sophia Whiting
Defendant: [X] Present [ ] Not Present
Defendant's Custodial Status: [ ] In Custody [X] Not in Custody

Deputy Clerk: Corinne Lew                             Court Reporter: Ana Dub
Interpreter: n/a                                      Probation Officer: n/a


                                     PROCEEDINGS

Change of Plea hearing held - via Zoom Webinar/video conference.

                                       SUMMARY

Parties stipulated to proceed with Change of Plea by way of video conference. Shelter in place
not possible to conduct an in person hearing. The Court found good cause to proceed by way of
video conference, as well. Defendant waives his physical appearance. Defendant is sworn and
examined by the Court. Defendant plead guilty to Counts One and Two of the Indictment. The
Plea Agreement is filed. Defendant shall participate in the Pretrial Diversion Program and the
matter is continued for 12 months. CASE CONTINUED TO: 4/27/2021 at 2:30 p.m. for
Status Hearing.
